

People v Medina (2023 NY Slip Op 01868)





People v Medina


2023 NY Slip Op 01868


Decided on April 11, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 11, 2023

Before: Kapnick, J.P., Kern, Friedman, Gesmer, Higgitt, JJ. 


SCI No. 3455/13 Appeal No. 18 Case No. 2018-2210 

[*1]The People of the State of New York, Respondent,
vJuan Medina, Defendant-Appellant.


Janet E. Sabel, the Legal Aid Society, New York (Harold V. Ferguson, Jr. of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Noah J. Sexton of counsel), for respondent.



Order, Supreme Court, Bronx County (Raymond L. Bruce, J.), entered on or about January 19, 2018, which adjudicated defendant a level two sex offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court providently exercised its discretion in declining to grant a downward departure (see generally People v Gillotti, 23 NY3d 841 [2014]). The mitigating factors cited by defendant were adequately taken into account by the risk assessment instrument or were outweighed by the seriousness of the underlying crime against a 12-year-0ld child. There was nothing exceptional about defendant's response to sex offender and substance abuse treatment, or his disciplinary record (see e.g. People v Palmer, 166 AD3d 536 [1st Dept 2018], lv denied 32 NY3d 919 [2019]; People v Watson, 112 AD3d 501, 502-503 [1st Dept 2013], lv denied 22 NY3d 863 [2014]), and defendant has not shown that his age reduced his individual risk of reoffense to a degree that would warrant a departure.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 11, 2023








